                                                                 140 Nev., Advance Opinion 5 1-i
                                 IN THE SUPREME COURT OF THE STATE OF NEVADA


                          IN THE MATTER OF DISCIPLINE OF                          No. 86781
                          HARDEEP SULL, BAR NO. 12108.
                                                                                      FILE
                                                                                      AUG 2 2 2024
                                                                                   EL      1-1 A. arta 614
                                                                                 CLER OF               Pi
                                                                                 BY
                                                                                      IEF DEPUTY CLERK


                                     Appeal from a disciplinary board hearing panel's order
                         dismissing a complaint against an attorney.
                                     Reversed; attorney reprimanded.


                         Daniel M. Hooge, Bar Counsel, and R. Kait Flocchini, Assistant Bar
                         Counsel, Reno,
                         for State Bar of Nevada.

                         Richard Harris Law Firm and David A. Clark, Las Vegas,
                         for Respondent Hardeep Sull.




                         BEFORE THE SUPREME COURT, HERNDON, LEE, and BELL, JJ.


                                                          OPINION

                         By the Court, BELL, J.:
                                     In this matter, we consider whether attorney Hardeep Sull
                         violated the Nevada Rules of Professional Conduct (RPC) concerning the
                         safekeeping of client funds and the duties owed to a client when terminating
                         representation. Specifically, the rules require attorneys to deposit "[a]ll
                         funds received or held for the benefit of clients . . . including advances for
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                costs and expenses" into a designated client trust account, "to be withdrawn
                by the lawyer only as fees are earned or expenses incurred." RPC 1.15(a),
                (c). We conclude that Su11 violated RPC 1.15 when she charged a flat fee for
                a limited scope representation but failed to deposit that fee into a client
                trust account. We further conclude that Su11 violated RPC 1.16(d), which
                requires an attorney to "refundll any advance payment of fe[s] or
                expense[s] that has not been earned or incurred" when the client terminates
                that representation. Because the hearing panel erred when it concluded
                that Su11 did not violate either of these rules, we reverse the hearing panel's
                order dismissing the disciplinary charges against Sull. Based on the clear
                evidence supporting violations of RPC 1.15 and RPC 1.16, and considering
                the circumstances, we conclude that a reprimand serves the purpose of
                attorney discipline.
                                               BACKGROUND
                             Hardeep Sull has been licensed to practice law in Nevada since
                2010 and has no prior discipline.       Sull's practice primarily consists of
                immigration matters. In June 2021, a preexisting client retained Sull to
                prepare and file an E-2 Visa Application. For this representation, the client
                agreed to pay Sull a flat fee of $15,000, plus a $750 client file fee. The fee
                agreement provided that, in the event of early termination, Sull's "time
                completed on the matter will be billed at an hourly rate" of 8395 per hour
                and that Sull would "refund any unused portion of the costs and/or
                expenses."   The client wired the full $15,000 to Sull's firm's operating
                account. Within a month, Sull had withdrawn all of those funds without
                attributing the withdrawals to the E-2 Visa matter. At no time did Sull
                place the client's funds into the firm's client trust account.
                             In December 2021, the client informed Sull that he did not want
                to move forward with the E-2 Visa Application. As a result, Sull never filed
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                   the application. The next month, the client requested that Su11 provide an
                   accounting of work performed on the matter and a refund of any unearned
                   fees. Su11 promised to provide the requested accounting within a month but
                   failed to do so. The client continued to request an accounting for several
                   months and eventually filed a grievance with the State Bar. After the

                   parties participated in a fee dispute mediation, Su11 provided the client with
                   an accounting. In early 2023, Su11 refunded the client $3,500.
                               The State Bar filed a disciplinary complaint against Su11,
                   alleging that Su11 violated RPC 1.15 (safekeeping property) by failing to
                   deposit the client's funds into a client trust account and RPC 1.16 (declining
                   or terminating representation) by failing to provide the client with an
                   accounting or a refund of unearned fees when the client terminated the
                   representation. The hearing panel unanimously concluded that Su11 (1) did
                   not violate RPC 1.15 because the $15,000 was a flat fee that did not have to
                   be deposited into a client trust account and (2) did not violate RPC 1.16
                   because the client did not terminate the representation.          The panel
                   dismissed the complaint. The State Bar appeals, arguing that the panel
                   erred in concluding that Su11 did not violate RPC 1.15 and RPC 1.16.
                                                  DISCUSSION
                               "Our review of the panel's findings of fact is deferential. . . so
                   long as they are not clearly erroneous and are supported by substantial
                   evidence." In re Discipline of Colin, 135 Nev. 325, 330, 448 P.3d 556, 560
                   (2019) (internal citation omitted). We review the panel's conclusions of law,
                   including "whether the factual findings establish an RPC violation," de
                   novo. Id. (discussing SCR 105(3)(b)).




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                Because a flat fee is not earned upon receipt, Sull violated RPC 1.15 by
                failing to deposit the client's funds in her trust account
                             The Nevada Rules of Professional Conduct require that "[a]ll
                funds received or held for the benefit of clients by a lawyer.... shall be
                deposited in [the lawyer's] trust account."       RPC 1.15(a); see also SCR
                78(1)(a) (requiring attorneys to "deposit all funds held in trust in this
                jurisdiction" into a trust account). "All funds held in trust" includes fees
                paid in advance of the lawyer providing the agreed-upon services. "Legal
                fees and expenses that have been paid in advance" may "be withdrawn [from
                the trust account] by the lawyer only as fees are earned or expenses
                incurred." RPC 1.15(c). The rules are clear that fees paid in advance may
                only be withdrawn as the fees are earned. Accordingly, fees paid in advance
                must be placed into the lawyer's trust account until the lawyer earns the
                fees by performing the agreed-upon work.          Although the rules allow a
                lawyer to charge a fixed or "flat" rate for legal services, the lawyer must still
                account for the work performed to demonstrate that the fee has been
                earned. See RPC 1.5(a)(8) (permitting a lawyer to charge a fixed fee for
                services).   An attorney cannot avoid accounting for work performed by
                labeling the fee as a "flat fee." Indeed, "[t]he client must be in a position to
                understand what the lawyer will do for the agreed upon fees, and, of equal
                importance, what the lawyer will not do. Simply put, the client must know
                what [the client] bargained for." In re Seare, 493 B.R. 158, 206 (Bankr. D.
                Nev. 2013) (emphasis omitted), as corrected (Apr. 10, 2013), aff'd, 515 B.R.
                599 (B.A.P. 9th Cir. 2014).
                             The American Bar Association recently issued an opinion
                addressing the proper treatment of flat or fixed fees paid in advance. "If a
                flat or fixed fee is paid by the client in advance of the lawyer performing the
                legal work, the fees are an advance. Use of the term 'flat fee' or 'fixed fee'
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does not transform [an] arrangement into a fee that is 'earned when paid."
ABA Comm. on Ethics &amp; Pro. Resp., Formal Op. 505, at *4 (2023). We agree.
Fees paid in advance of legal services being performed are not earned upon
receipt. When a lawyer receives an advance of fees, "that fee must be placed
in a Rule 1.15-compliant trust account, to be disbursed to the lawyer only
after the fee has been earned." Id. A prudent way to comply with the rule
would be to set milestones by which specified portions of an advanced fee
may be earned. Id. at *5 (citing In re Mance, 980 A.2d 1196, 1202, 1204-05
(D.C. 2009)). Doing so "allows the lawyer to be paid in part before the end
of the representation and provides some assistance in determining the
refund amount in case of early termination." Id. For example, once the
lawyer reaches a certain stage of representation or completes a designated
task, they could provide the client with an accounting demonstrating that
the task has been completed, and then the lawyer could transfer the agreed-
upon portion of funds for that task out of the trust account. "Of course,
'extreme "front-loading" of payment milestones in the context of the
anticipated length and complexity of the representation' may not be
reasonable." Id. (quoting Mance, 980 A.2d at 1204-05).
            The fee agreement at issue provided that the $15,000 fee was
for "legal services to be rendered" and indicated that Sull would send billing
statements to the client explaining how any deposited fees would "be
applied towards the balance of the legal services rendered." By the terms
of the agreement, the client's fees in this matter were paid in advance.
Consistent with RPC 1.15(c), those fees should have been deposited in a
client trust account and withdrawn by Sull only as fees were earned or
expenses incurred. Sull instead treated the funds as "earned upon receipt,"
placing the client's funds directly into her operating account without first



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                performing the work to earn those funds. By doing so, Su11 violated RPC
                1.15. We cannot agree with the hearing panel's contrary conclusion.
                The client terminated Sull's representation before she completed the task for
                which she was retained
                             The Nevada Rules of Professional Conduct provide that, "[u]pon
                termination of representation, a lawyer shall. . . surrender[ ] papers and
                property to which the client is entitled and refund[ ] any advance payment
                of fee or expense that has not been earned or incurred." RPC 1.16(d). The
                question here is whether the client terminated the representation.
                             Sull's client had previously retained Sull for two other matters,
                one of which is still pending. Each matter was distinct and had its own fee
                agreement.     See RPC 1.2(c) ("A lawyer may limit the scope of the
                representation if the limitation is reasonable under the circumstances and
                the client gives informed consent."). The third matter was the E-2 Visa
                Application, which formed the basis of the State Bar's complaint. The
                record establishes that the client terminated the representation for the E-2
                Visa after Sull had completed some work but before Sull filed the
                application. Because the E-2 Visa was a separate representation from the
                other matters, we conclude that the client terminated the representation,
                triggering RPC 1.16. The fact that Sull remained counsel of record for the
                client on an unrelated matter has no bearing on whether the client
                terminated Sull's representation for the E-2 Visa.       The record fails to
                support the hearing panel's finding that the client had not terminated the
                representation.
                             Sull delayed providing the client with an accounting of work
                performed and a refund of unearned fees for several months after the
                representation for the E-2 Visa terminated. The record demonstrates by
                clear and convincing evidence that Sull violated the duty to "surrender[]
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                   papers and property to which the client is entitled and refund[] any
                   advance payment of fee or expense that has not been earned or incurred."
                   RPC 1.16(d); see also In re Discipline of Drakulich, 111 Nev. 1556, 1566, 908
                   P.2d 709, 715 (1995) (recognizing the burden of proof in a disciplinary
                   matter).
                   A reprimand is appropriate di.scipline for Sull's uiolations
                                In determining the appropriate discipline, we weigh four

                   factors: "the duty violated, the lawyer's mental state, the potential or actual
                   injury caused by the lawyer's misconduct, and the existence of aggravating
                   or mitigating factors." In re Discipline of Lerner, 124 Nev. 1232, 1246, 197
                   P.3d 1067, 1077 (2008). Although the hearing panel's recommendation is

                   persuasive, we determine the appropriate discipline de novo.           See In re

                   Discipline of Schaefer, 117 Nev. 496, 515, 25 P.3d 191, 204 (2001); SCR
                   105(3)(b).
                                Based on the record provided, we conclude that the State Bar
                   proved by clear and convincing evidence that Sull's actions caused actual or
                   potential injury to the client by depriving the client of access to and use of
                   the client's own funds for over one year. See In re Watt, 717 N.E.2d 246,
                   248-49 (Mass. 1999) ("Deprivation arises when an attorney's intentional use
                   of a client's funds results in the unavailability of the client's funds after they
                   have become due, and may expose the client to a risk of harm, even if no
                   harm actually occurs.").     The record also supports that Sull negligently
                   violated RPC 1.15 and knowingly violated RPC 1.16. Because the most
                   serious misconduct was the knowing violation of duties owed when the
                   client terminated the representation, the baseline sanction, before
                   considering aggravating or mitigating circumstances, is suspension. See
                   Standards for Imposing Lawyer Sanctions, Compendium of Professional
                   Responsibility Rules and Standards, at Standard 7.2 (Am. Bar Ass'n 2023)
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                ("Suspension is generally appropriate when a lawyer knowingly engages in
                conduct that is a violation of a duty owed as a professional and causes injury
                or potential injury to a client, the public, or the legal system .").
                             The record further demonstrates substantial evidence of one

                aggravating circumstance (substantial experience in the practice of law)
                and five mitigating circumstances (absence of a prior disciplinary record,
                absence of a dishonest or selfish motive, personal or emotional problems,
                cooperative attitude toward proceedings, and character and reputation).
                See SCR 102.5 (listing "[a]ggravating and mitigating circumstances [which]
                may be considered in deciding what sanction to impose"). Given that this is
                Sull's first discipline and that the mitigating circumstances significantly
                outweigh the one aggravating circumstance, we conclude that a downward
                deviation from the baseline sanction is appropriate. Considering all of the

                factors, we conclude that a reprimand serves the purpose of attorney
                discipline. See In re Discipline of Arabia, 137 Nev. 568, 571, 495 P.3d 1103,
                1109 (2021) (recognizing that the purpose of attorney discipline is to protect
                the public, the courts, and the legal profession).
                                                CONCLUSION
                             Sull violated the Nevada Rules of Professional Conduct by

                mishandling client funds and by failing to account for and refund client
                funds after the client terminated her representation.           Given the clear

                evidence of violation, we reverse the hearing panel's order dismissing the
                disciplinary charges against Sull.          Considering the aggravating and

                mitigating circumstances, particularly that Sull has had no prior attorney
                discipline, we conclude that a reprimand is sufficient to serve the purpose
                of attorney discipline.
                             Accordingly, we reprimand attorney Hardeep Sull for violating

                RPC 1.15 (safekeeping property) and RPC 1.16 (declining or terminating
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                    representation). Su11 shall pay the costs of the disciplinary proceedings,
                    including $1,500 under SCR 120, within 30 days after the State Bar
                    provides an invoice for those costs. The State Bar shall comply with SCR
                    121.1.


                                                                                     J.
                                                       Bell


                    We concur:


                                                  rJ
                          (74
                    Herndon



                    Lee




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